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 Attorneys for Plaintiff Purple Innovation, LLC

                      IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

  PURPLE INNOVATION, LLC,                         REPLY IN SUPPORT OF MOTION TO
                                                  CONFIRM ARBITRATION AWARD
         Plaintiff,

  v.

  RESPONSIVE SURFACE
  TECHNOLOGY, LLC, PATIENTECH,
  LLC, and ROBERT GOLDEN,

         Defendants, Counterclaim
         Plaintiffs, and Third-Party
         Plaintiffs,

  v.

  PURPLE INNOVATION, LLC, GARY
  DICAMILLO, ADAM GRAY, JOSEPH                    Civil No.: 2:20-cv-708
  MEGIBOW, TERRY PEARCE, TONY
  PEARCE, and JOHN DOE NOS. 1-4,                  Consolidated No. 2:20-cv-727
                                                  Honorable Robert J. Shelby
         Counterclaim Defendant and
         Third-Party Defendants.                  Magistrate Judge Cecilia M. Romero
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        Purple Innovation, LLC (“Purple”), through counsel MAGLEBY CATAXINOS &

 GREENWOOD, PC, submits this Reply in Support of Motion to Confirm Arbitration Award

 (“Reply”).

                                     INTRODUCTION

        Responsive Surface Technology, LLC (“ReST”) and PatienTech LLC

 (“PatienTech”) (collectively, “Defendants” or “ReST”) demanded that this dispute be

 arbitrated. After the Court granted that request, the case was referred for resolution to

 the American Arbitration Association (“AAA”). The parties conducted discovery and had

 an opportunity to present their arguments and evidence during a ten-day arbitration

 hearing before an eminently qualified arbitrator, which was followed by extensive post-

 hearing briefing and additional hearings. ReST cannot complain that the arbitration

 process was unfair or unjust.

        The AAA hearing resulted in a final arbitration award. Purple moved to confirm

 the award (“Motion to Confirm”). [ECF No. 203]. ReST filed its opposition to Purple’s

 Motion to Confirm (“Opposition”), [ECF No. 223], and simultaneously filed its motion to

 vacate the arbitration award (“Motion to Vacate”) [ECF No. 224]

        ReST incorporated its Motion to Vacate into the Opposition. [See Opposition at

 2, 3, and n.1]. Consequently, Purple incorporates herein its Opposition to Motion to

 Vacate Arbitration Award. Additionally, Purple briefly addresses two points raised in

 ReST’s Opposition—Purple’s entitlement to attorneys’ fees and costs, and the basis for

 trade dress infringement.




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                                        ARGUMENT

 I.     THE ARBITRATOR CORRECTLY AWARDED ATTORNEY FEES TO PURPLE

        A district court does not sit to hear claims of factual or legal error by an
        arbitrator as if it were an appellate court reviewing a lower court’s decision.
        Generally, maximum deference is owed to the arbitrators because the
        parties have contracted to use binding arbitration rather than litigation as a
        means to resolve their disputes. Thus, arbitral awards must be confirmed
        even in the face of errors in an arbitration panel's factual findings, or its
        interpretation and application of the law.

 Vendavo, Inc. v. Koury, No. 20-CV-00850-CMA-NYW, 2022 WL 1037493, at *2 (D.

 Colo. Mar. 18, 2022) (quotations and citations omitted) (emphasis added).

        ReST argues that because attorney fees represent a matter of substantive law

 and the AAA Rules are the procedural rules, the rule could not be a basis for the award

 of attorney fees. However, the Arbitrator has neither manifestly disregarded the law nor

 exceeded his authority. As set forth in Purple’s opposition to ReST’s motion to vacate,

 the parties broadly incorporated the AAA Commercial Rules into their agreement, and

 those rules provides that if both parties requested attorney fees – as happened in this

 case – then the Arbitrator has power to award fees. [See Final Award at 9-14, ECF No.

 203-8]; cf. Belnap v. Iasis Healthcare, 844 F.3d 1272, 1282 (10th Cir. 2017) (discussing

 a broad incorporation of the arbitration rules in the arbitration agreements); Com.

 Refrigeration, Inc. v. Layton Const. Co., Inc., 319 F. Supp. 2d 1267, 1269 (D. Utah

 2004) (“[A]n arbitrator’s erroneous interpretations or applications of law are not

 reversible.” (quoting ARW Expl. Corp. v. Aguirre, 45 F.3d 1455, 1463 (10th Cir. 1995)));

 Hicks v. Cadle Co., 355 Fed. Appx. 186, 195 (10th Cir. 2009)(unpublished) (“We have

 held consistently that we may vacate an arbitration award only under the limited


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 circumstances set forth in the FAA, 9 U.S.C. § 10, or under certain judicially-created

 exceptions, such as an arbitrator’s manifest disregard for the law or for a violation of

 public policy.”).

        Additionally, ReST’s argument that substantive Utah law does not permit attorney

 fees is misplaced. Utah law allows recovery of attorney fees pursuant to the parties’

 agreement. See Faust v. KAI Techs., Inc., 15 P.3d 1266, 1269 (Utah 2000) (In Utah,

 “attorney fees are . . . recoverable by a prevailing party . . . [if] authorized by . . .

 contract.”). Here, the parties broadly incorporated the AAA Rules into their agreement.

 Of course, the Arbitrator had the authority to interpret the parties’ agreement and decide

 factual and legal issues related to the interpretation of the parties’ agreement, including

 regarding the attorney fees. See, e.g., Fairbourn Com., Inc. v. Am. Hous. Partners, Inc.,

 68 P.3d 1038, 1040 (Utah App. 2003), aff'd, 94 P.3d 292 (Utah 2004) (“A contract’s

 interpretation may be either a question of law, determined by the words of the

 agreement, or a question of fact. . . .”).

        Simply put, ReST’s disagreement with the Arbitrator’s interpretation, either legal

 or factual, may not be a basis for vacating the arbitration award.

 II.    THE ARBITRATOR CORRECTLY DETERMINED DAMAGES FOR REST’S
        TRADE DRESS INFRINGEMENT

        In its Opposition, ReST characterizes the Arbitrator’s findings and conclusions

 regarding Purple’s damages for ReST’s infringement on Purple’s trade dress as

 baseless.1 ReST’s simple disagreement concerning this issue may not be a basis for


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   Defendants incorrectly identify the damages amount awarded to Purple for ReST’s
 trade dress infringement. The correct amount of the damages under this category is
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 vacating an arbitration award. See Commercial Refrigeration, 319 F. Supp. 2d at 1269

 (“This deference is given to findings of fact: errors in the arbitrator’s findings of fact do

 not merit reversal.” (quotation marks omitted; quoting Bowles Financial Group, Inc., v.

 Stifel, Nicolaus & Co., 22 F.3d 1010, 1012 (10th Cir.1994))); id. (“[A]n arbitrator’s

 erroneous interpretations or applications of law are not reversible.” (quotation omitted);

 Gen. Motors Corp. v. Urb. Gorilla, LLC, 500 F.3d 1222, 1227 (10th Cir. 2007) (Referring

 to trade dress infringement, “[i]n this circuit, likelihood of confusion is a question of fact. .

 . .”); First Am. Title Ins. Co. v. N.W. Title Ins. Agency, LLC, No. 2:15-CV-00229-DN,

 2016 WL 6902473, at *12 (D. Utah Nov. 23, 2016) (the fact and amount of damages

 implicate factual findings).

                                         CONCLUSION

        Based on the foregoing, and for reasons discussed in the Motion to Confirm and

 Purple’s Opposition to the Motion to Vacate, the Court should Grant the Motion to

 Confirm.

        DATED this 3rd day of May 2024.

                                             MAGLEBY CATAXINOS & GREENWOOD, PC



                                             /s/ Adam Alba
                                             James E. Magleby
                                             Adam Alba
                                             Yevgen Kovalov
                                             Attorneys for Plaintiff Purple Innovation, LLC



 $434,363, and together with the trademark infringement the total amount of damages
 for Defendants’ infringements on Purple’s intellectual property is $658,811.68. Interim
 Award at 63, ECF 203-5.
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                              CERTIFICATE OF SERVICE

       I hereby certify that I am employed by the law firm of MAGLEBY CATAXINOS &

 GREENWOOD, PC, 141 W. Pierpont Avenue, Salt Lake City, Utah 84101, and that

 pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, a true and correct copy of

 the foregoing REPLY IN SUPPORT OF MOTION TO CONFIRM ARBITRATION

 AWARD was delivered to the following this 3rd day of May 2024, by CM/ECF System:

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